     Case 1:20-cv-03010-APM              Document 1262        Filed 05/08/25      Page 1 of 14




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                                 Plaintiffs,          Case No. 1:20-cv-03010-APM

v.                                                    HON. AMIT P. MEHTA

GOOGLE LLC,

                                 Defendant.


STATE OF COLORADO, et al.,

                                 Plaintiffs,          Case No. 1:20-cv-03715-APM

v.                                                    HON. AMIT P. MEHTA

GOOGLE LLC,

                                 Defendant.



                 PLAINTIFFS’ STATEMENT IN SUPPORT OF CALLING
               PROFESSOR KINSHUK JERATH TO TESTIFY IN REBUTTAL

          Pursuant to the Court’s instruction to the parties at the close of the May 7, 2025 afternoon

hearing session, Plaintiffs submit the following statement in support of calling Professor Kinshuk

Jerath to testify and rebut the opinions contained in Section V of Dr. Mark Israel’s opening

report.

I.        Relevant Background

          On September 18, 2024, the Court issued a scheduling order for expert discovery. Order,

ECF No. 1043. Under that order, by March 14, 2025, the parties were required to “serve any

proponent expert reports and disclosures, consistent with Rule 26(a)(2).” Id. at 2. On March 26,
      Case 1:20-cv-03010-APM           Document 1262         Filed 05/08/25      Page 2 of 14




2025, the parties were further required to “serve any rebuttal expert reports and disclosures,

consistent with Rule 26(a)(2).” Id. Expert discovery closed on April 9, 2025. Id. at 3.

       On March 14, 2025, Google served Plaintiffs the opening expert report of Dr. Israel. Dr.

Israel, an economist, offered multiple opinions in his opening expert report as to how advertisers

would respond to Plaintiffs’ remedies. Consistent with the Court’s order, on March 26, 2025,

Plaintiffs timely served Google with Professor Jerath’s rebuttal report. Notably, Professor

Jerath’s report was limited to rebutting the opinions related to Section V of Dr. Israel’s opening

report, which concerned Plaintiffs’ proposed advertising remedies—a direct area of expertise for

Professor Jerath, who the Court qualified as an expert in digital advertising during liability.

        On April 4, 2025, Google deposed Professor Jerath on his rebuttal opinions. Then, on

May 2, 2025, Google put Professor Jerath’s rebuttal opinions directly at issue when counsel

asked Dr. Israel on the stand whether he had read Professor Jerath’s rebuttal report and had any

response. Rem. Tr. 3264:23–3266:14. Dr. Israel replied in the affirmative and provided a lengthy

response purporting to refute Professor Jerath’s opinions, without citing any documents or

relevant advertising expertise. Id.

II.    The Court Has Broad Discretion To Allow Rebuttal Testimony

       “[A] district court has ‘broad discretion in determining whether to admit or exclude

expert testimony’ and no per se rule exists that new expert testimony is inappropriate rebuttal

testimony.” Little v. Wash. Metro. Area Transit Auth., 249 F. Supp. 3d 394, 416 (D.D.C. 2017)

(citing United States v. Gatling, 96 F.3d 1511, 1523 (D.C. Cir. 1996)). Because Professor

Jerath’s testimony will go “directly to refuting” the claims of Dr. Israel, who testified regarding

Plaintiffs’ proposed advertising remedies, his testimony is proper. See United States v. Philip

Morris USA, Inc., 2022 U.S. Dist. LEXIS 68522, *29–32 (D.D.C. Apr. 13, 2022) (holding that



                                                  2
       Case 1:20-cv-03010-APM          Document 1262         Filed 05/08/25      Page 3 of 14




the expert’s analysis “squarely ‘contradict[s] or rebut[s] evidence’ discussed by Dr. [Kevin]

Murphy and therefore qualif[ies] as proper rebuttal testimony” (quoting Fed. R. Civ. P.

26(a)(2)(D)(ii))).

III.    The Court Should Permit Professor Jerath To Testify And Rebut Dr. Israel’s
        Advertising-Related Opinions

        The Court should exercise its broad discretion in this case for multiple reasons.

        First, Professor Jerath offers rebuttal testimony that directly refutes the opinions

contained in Section V of Dr. Israel’s report, which address Plaintiffs’ proposed advertising

remedies. In particular, Professor Jerath seeks to clarify the impact of Plaintiffs’ proposed

remedies on advertisers’ behavior. See Huawei Techs., Co. v. Samsung Elecs. Co., 340 F. Supp.

3d 934, 996 (N.D. Cal. 2018) (“The proper function of rebuttal evidence is to contradict,

impeach or defuse the impact of the evidence offered by an adverse party.”). His need to testify

is particularly acute given that Dr. Israel testified extensively as to why he disagrees with

Professor Jerath’s rebuttal opinions. Rem. Tr. 3264:23–3266:14. Google cannot have it both

ways—using Dr. Israel to put Professor Jerath’s rebuttal opinions directly at issue while

simultaneously seeking to preclude Professor Jerath from responding.

        Second, Plaintiffs complied with the Federal Rules of Civil Procedure in submitting

Professor Jerath’s rebuttal report. The Federal Rules provide that parties must disclose expert

witnesses “at the times and in the sequence that the court orders.” Fed. R. Civ. P. 26(a)(2)(D). As

discussed above, Plaintiffs timely disclosed Professor Jerath’s rebuttal opinion on March 26,

2025, when they submitted each of their rebuttal opinions.

        Third, and in a related point, neither the Federal Rules nor this Court’s orders foreclose

the possibility that an expert offers purely rebuttal opinions. Quite the opposite. This Court’s

scheduling order provided for the exchange of “any rebuttal expert reports and disclosures,

                                                  3
     Case 1:20-cv-03010-APM            Document 1262         Filed 05/08/25       Page 4 of 14




consistent with Rule 26(a)(2),” without any limitation on the identity of those experts. Order,

ECF No. 1043, at 2 (emphasis added). Indeed, “[a] party need not disclose an expert within the

deadline for initial expert reports and can instead disclose an expert as a ‘rebuttal expert,’ when

the expert’s testimony is ‘intended solely to contradict or rebut evidence on the same subject

matter identified by an initial expert witness.’” People v. Kinder Morgan Energy Partners, L.P.,

159 F. Supp. 3d 1182, 1191 (S.D. Cal. 2016); Fed. R. Civ. P. 26(a)(2)(D)(ii).

   IV.      Google Will Not Be Prejudiced By Professor Jerath’s Testimony

         Finally, Google will not be prejudiced by Professor Jerath’s testimony during Plaintiffs’

rebuttal. Plaintiffs notified Google that Professor Jerath intended to offer a report rebutting Dr.

Israel on March 18, 2025—eight days before the Court’s deadline for disclosing rebuttal expert

opinions. Indeed, given the expedited nature of expert discovery in this matter, Plaintiffs

disclosed their intent to issue Professor Jerath’s rebuttal report four days after the Court’s

deadline for disclosing opening expert opinions, and well in advance of the rebuttal expert

deadline.

         Google received Professor Jerath’s rebuttal report on the same day it received the rest of

Plaintiffs’ rebuttal reports. As with Plaintiffs’ other experts, Google had the opportunity to

depose Professor Jerath on his opinions. To that end, Google deposed Professor Jerath on April

4, 2025. Moreover, during this hearing, Google questioned Dr. Israel about the opinions offered

by Professor Jerath, giving Dr. Israel a chance to respond. And if Professor Jerath’s testimony is

permitted, Google will have the opportunity to cross-examine him.




                                                  4
     Case 1:20-cv-03010-APM            Document 1262         Filed 05/08/25       Page 5 of 14




                                          CONCLUSION

       For the above reasons, the Court should permit Professor Jerath to testify and rebut

Section V of Dr. Israel’s report. Alternatively, Plaintiffs request the Court strike all opinions

from Dr. Israel related to Section VIII of Plaintiffs’ proposed remedies and rely on the liability

findings in support of Plaintiffs’ remedies.



Dated: May 8, 2025                                     Respectfully submitted,

                                                       /s/ Travis R. Chapman
                                                       David E. Dahlquist
                                                       Adam T. Severt
                                                       Travis R. Chapman (D.C. Bar #90031151)
                                                       Veronica N. Onyema (D.C. Bar #979040)
                                                       Meagan M. Glynn (D.C. Bar #1738267)
                                                       Andrew Tisinger (D.C. Bar #90018455)


                                                       U.S. Department of Justice
                                                       Antitrust Division
                                                       Technology & Digital Platforms Section
                                                       450 Fifth Street NW, Suite 7100
                                                       Washington, DC 20530
                                                       Telephone: (202) 805-8563
                                                       David.Dahlquist@usdoj.gov
                                                       Adam.Severt@usdoj.gov

                                                       Counsel for Plaintiff
                                                       United States of America
     Case 1:20-cv-03010-APM              Document 1262    Filed 05/08/25      Page 6 of 14




By:     /s/ Christoper A. Knight                    California Department of Justice
James Uthmeier, Attorney General                    455 Golden Gate Avenue, Suite 11000
R. Scott Palmer, Special Counsel, Complex           San Francisco, California 94102
Enforcement Chief, Antitrust Division               Cari.Jeffries@doj.ca.gov
Lee Istrail, Assistant Attorney General
Christopher A. Knight, Assistant Attorney           Counsel for Plaintiff State of California
General
Office of the Attorney General, State of            Matthew M. Ford
Florida                                             Arkansas Bar No. 2013180
PL-01 The Capitol                                   Senior Assistant Attorney General
Tallahassee, Florida 32399                          Office of the Arkansas Attorney General
Lee.Istrail@myfloridalegal.com                      Tim Griffin
Scott.Palmer@myfloridalegal.com                     323 Center Street, Suite 200
Christopher.Knight@myfloridalegal.com               Little Rock, AR 72201
                                                    Matthew.Ford@arkansasag.gov
Counsel for Plaintiff State of Florida
                                                    Counsel for Plaintiff State of Arkansas
By:     /s/ Diamante Smith
Ken Paxton, Attorney General                        Christopher Carr, Attorney General
Brent Webster, First Assistant Attorney             Logan B. Winkles, Deputy Attorney General
General                                             Ronald J. Stay, Jr., Senior Assistant
Ralph Molina, Deputy First Assistant                Attorney General
Attorney General                                    Charles Thimmesch, Senior Assistant
Austin Kinghorn, Deputy Attorney General            Attorney General
for Civil Litigation                                Office of the Attorney General, State of
Diamante Smith, Assistant Attorney                  Georgia
General, Antitrust Division                         40 Capitol Square, SW
Office of the Attorney General, State of            Atlanta, Georgia 30334-1300
Texas                                               cthimmesch@law.georgia.gov
P.O. Box 12548
Austin, Texas 78711-2548                            Counsel for Plaintiff State of Georgia
(512) 936-1162
Diamante.Smith@oag.texas.gov                        Theodore Edward Rokita, Attorney General
                                                    Scott L. Barnhart, Chief Counsel and
Counsel for Plaintiff State of Texas                Director, Consumer Protection Division
                                                    Jesse Moore, Deputy Attorney General
By:    /s/ Carolyn D. Jeffries                      Christi Foust, Deputy Attorney General
Rob Bonta, Attorney General                         Office of the Attorney General, State of
Paula Blizzard, Senior Assistant Attorney           Indiana
General                                             Indiana Government Center South, Fifth
Michael Jorgenson, Supervising Deputy               Floor
Attorney General                                    302 West Washington Street
Brian Wang, Deputy Attorney General                 Indianapolis, Indiana 46204
Carolyn D. Jeffries, Deputy Attorney                Jesse.Moore@atg.in.gov
General (DC Bar No. 1600843)
Office of the Attorney General                      Counsel for Plaintiff State of Indiana
     Case 1:20-cv-03010-APM           Document 1262    Filed 05/08/25      Page 7 of 14




Russell Coleman, Attorney General                Fax: 314-340-7981
J. Christian Lewis, Commissioner of the
Office of Consumer Protection                    Counsel for Plaintiff State of Missouri
Philip R. Heleringer, Executive Director of
the Office of Consumer Protection                Lynn Fitch, Attorney General
Jonathan E. Farmer, Deputy Executive             Crystal Utley Secoy, Assistant Attorney
Director of the Office of Consumer               General
Protection                                       Lee Morris, Special Assistant Attorney
Office of the Attorney General,                  General
Commonwealth of Kentucky                         Office of the Attorney General, State of
1024 Capital Center Drive, Suite 200             Mississippi
Frankfort, Kentucky 40601                        P.O. Box 220
Philip.Heleringer@ky.gov                         Jackson, Mississippi 39205
                                                 Crystal.Utley@ago.ms.gov
Counsel for Plaintiff Commonwealth of            Lee.Morris@ago.ms.gov
Kentucky
                                                 Counsel for Plaintiff State of Mississippi
Liz Murrill, Attorney General
Asyl Nachabe, Assistant Attorney General         Anna Schneider
Office of the Attorney General, State of         Special Assistant Attorney General, Senior
Louisiana                                        Counsel
Public Protection Division                       Montana Office of Consumer Protection
1885 North Third St.                             P.O. Box 200151
Baton Rouge, Louisiana 70802                     Helena, MT. 59602-0150
nachabea@ag.louisiana.gov                        Phone: (406) 444-4500
                                                 Fax: 406-442-1894
Counsel for Plaintiff State of Louisiana         Anna.schneider@mt.gov

Dana Nessel, Attorney General                    Counsel for Plaintiff State of Montana
Scott Mertens, Assistant Attorney General
Michigan Department of Attorney General          Alan Wilson, Attorney General
P.O. Box 30736                                   W. Jeffrey Young, Chief Deputy Attorney
Lansing, Michigan 48909                          General
MertensS@michigan.gov                            C. Havird Jones, Jr., Senior Assistant
                                                 Deputy Attorney General
Counsel for Plaintiff State of Michigan          Mary Frances Jowers, Assistant Deputy
                                                 Attorney General
Michael Schwalbert                               Office of the Attorney General, State of
Missouri Bar No. 63229                           South Carolina
Assistant Attorney General                       1000 Assembly Street
Consumer Protection Section                      Rembert C. Dennis Building
Missouri Attorney General's Office               P.O. Box 11549
815 Olive Street | Suite 200                     Columbia, South Carolina 29211-1549
Saint Louis, Missouri 63101                      mfjowers@scag.gov
michael.schwalbert@ago.mo.gov
Phone: 314-340-7888                              Counsel for Plaintiff State of South Carolina
     Case 1:20-cv-03010-APM          Document 1262   Filed 05/08/25   Page 8 of 14




Joshua L. Kaul, Attorney General
Laura E. McFarlane, Assistant Attorney
General
Wisconsin Department of Justice
17 W. Main St.
Madison, Wisconsin 53701
mcfarlanele@doj.state.wi.us

Counsel for Plaintiff State of Wisconsin
    Case 1:20-cv-03010-APM          Document 1262   Filed 05/08/25     Page 9 of 14




PHILIP WEISER
Attorney General of Colorado                   Counsel for Plaintiff State of Nebraska

/s/ Jonathan B. Sallet                         KRISTIN K. MAYES
Jonathan B. Sallet, DC Bar No. 336198          Attorney General of Arizona
Steven M. Kaufmann
Elizabeth W. Hereford                          Robert A. Bernheim, Unit Chief Counsel
Conor J. May                                   Jayme Weber, Senior Litigation Counsel
Colorado Office of the Attorney General        Arizona Office of the Attorney General
1300 Broadway, 7th Floor                       400 West Congress, Ste. S-215
Denver, CO 80203                               Tucson, Arizona 85701
Telephone: (720) 508-6000                      Telephone: (520) 628-6507
E-Mail: Jon.Sallet@coag.gov                    E-Mail: Robert.Bernheim@azag.gov
Steve.Kaufmann@coag.gov                        Jayme.Weber@azag.gov
Elizabeth.Hereford@coag.gov
Conor.May@coag.gov                             Counsel for Plaintiff State of Arizona

William F. Cavanaugh, Jr.                      BRENNA BIRD
PATTERSON BELKNAP WEBB &                       Attorney General of Iowa
TYLER LLP
1133 Avenue of the Americas                    Noah Goerlitz, Assistant Attorney General
New York, NY 10036                             Office of the Attorney General of Iowa
Telephone: (212) 336-2793                      1305 E. Walnut St., 2nd Floor
E-Mail: wfcavanaugh@pbwt.com                   Des Moines, IA 50319
                                               Telephone: (515) 725-1018
Counsel for Plaintiff State of Colorado        E-Mail: Noah.goerlitz@ag.iowa.gov

MIKE HILGERS                                   Counsel for Plaintiff State of Iowa
Attorney General of Nebraska
                                               LETITIA JAMES
Justin C. McCully, Assistant Attorney          Attorney General of New York
General
Nebraska Department of Justice                 Elinor R. Hoffmann
Office of the Attorney General                 Morgan J. Feder
2115 State Capitol                             Michael D. Schwartz
Lincoln, NE 68509                              Office of the New York State Attorney
Telephone: (402) 471-9305                      General
E-Mail: Justin.mccully@nebraska.gov            28 Liberty Street
                                               New York, NY 10005
William F. Cavanaugh, Jr.                      Telephone: (212) 416-8513
PATTERSON BELKNAP WEBB &                       E-Mail: Elinor.hoffmann@ag.ny.gov
TYLER LLP                                      Morgan.feder@ag.ny.gov
1133 Avenue of the Americas                    Michael.schwartz@ag.ny.gov
New York, NY 10036
Telephone: (212) 336-2793                      Counsel for Plaintiff State of New York
E-Mail: wfcavanaugh@pbwt.com
   Case 1:20-cv-03010-APM              Document 1262   Filed 05/08/25      Page 10 of 14




JEFF JACKSON
Attorney General of North Carolina                 Counsel for Plaintiff State of Utah

Kunal Janak Choksi                                 TREGARRICK TAYLOR
Joshua Daniel Abram                                Attorney General of Alaska
North Carolina Department of Justice
114 W. Edenton St.                                 Jeff Pickett
Raleigh, NC 27603                                  State of Alaska, Department of Law
Telephone: (919) 716-6000                          Office of the Attorney General
E-Mail: kchoksi@ncdoj.gov                          1031 W. Fourth Avenue, Suite 200
jabram@ncdoj.gov                                   Anchorage, Alaska 99501
                                                   Telephone: (907) 269-5100
Counsel for Plaintiff State of North               E-Mail: Jeff.pickett@alaska.gov
Carolina
                                                   Counsel for Plaintiff State of Alaska
JONATHAN SKRMETTI
Attorney General of Tennessee                      WILLIAM TONG
                                                   Attorney General of Connecticut
J. David McDowell
Austin Ostiguy                                     Nicole Demers
Tyler Corcoran                                     Office of the Attorney General of
Office of the Attorney General and                 Connecticut
Reporter                                           165 Capitol Avenue, Suite 5000
P.O. Box 20207                                     Hartford, CT 06106
Nashville, TN 37202                                Telephone: (860) 808-5202
Telephone: (615) 741-8722                          E-Mail: Nicole.demers@ct.gov
E-Mail: David.McDowell@ag.tn.gov
austin.ostiguy@ag.tn.gov                           Counsel for Plaintiff State of Connecticut
Tyler.Corcoran@ag.tn.gov
                                                   KATHLEEN JENNINGS
Counsel for Plaintiff State of Tennessee           Attorney General of Delaware

DEREK E. BROWN                                     Michael Andrew Undorf
Attorney General of Utah                           Delaware Department of Justice
                                                   Fraud and Consumer Protection Division
Matthew Michaloski, Assistant Attorney             820 N. French St., 5th Floor
General                                            Wilmington, DE 19801
Marie W.L. Martin, Deputy Division                 Telephone: (302) 683-8816
Director                                           E-Mail: Michael.undorf@delaware.gov
Utah Office of Attorney General
160 E 300 S, 5th Floor                             Counsel for Plaintiff State of Delaware
P.O. Box 140811
Salt Lake City, Utah 84114                         BRIAN SCHWALB
Telephone: (801) 440-9825                          Attorney General of the District of
E-Mail: mmichaloski@agutah.gov                     Columbia
mwmartin@agutah.gov
   Case 1:20-cv-03010-APM           Document 1262   Filed 05/08/25       Page 11 of 14




Elizabeth Gentry Arthur
Office of the Attorney General for the          Counsel for Plaintiff State of Idaho
District of Columbia
400 6th Street NW                               KWAME RAOUL
Washington, DC 20001                            Attorney General of Illinois
Telephone: (202) 724-6514
E-Mail: Elizabeth.arthur@dc.gov                 Elizabeth Maxeiner
                                                Brian Yost
Counsel for Plaintiff District of Columbia      Jennifer Coronel
                                                Office of the Attorney General of Illinois
DOUGLAS MOYLAN                                  100 W. Randolph St.
Attorney General of Guam                        Chicago, IL 60601
                                                Telephone: (773) 590-7935
Fred Nishihira                                  E-Mail: Elizabeth.maxeiner@ilag.gov
Office of the Attorney General of Guam          Brian.yost@ilag.gov
590 S. Marine Corps Drive, Suite 901            Jennifer.coronel@ilag.gov
Tamuning, Guam 96913
Telephone: (671) 475-3324                       Counsel for Plaintiff State of Illinois
E-Mail: fnishihira@oagguam.org
                                                KRIS W. KOBACH
Counsel for Plaintiff Territory Guam            Attorney General of Kansas

ANNE E. LOPEZ                                   Lynette R. Bakker
Attorney General of Hawai‘i                     Kansas Office of the Attorney General
                                                120 S.W. 10th Avenue, 2nd Floor
Rodney I. Kimura                                Topeka, KS 66612
Department of the Attorney General, State       Telephone: (785) 296-3751
of Hawai‘i                                      E-Mail: Lynette.bakker@ag.ks.gov
425 Queen Street
Honolulu, HI 96813                              Counsel for Plaintiff State of Kansas
Telephone (808) 586-1180
E-Mail: Rodney.i.kimura@hawaii.gov              AARON M. FREY
                                                Attorney General of Maine
Counsel for Plaintiff State of Hawai‘i
                                                Christina M. Moylan
RAÚL LABRADOR                                   Office of the Attorney General of Maine
Attorney General of Idaho                       6 State House Station
                                                August, ME 04333
John K. Olson                                   Telephone: (207) 626-8800
Office of the Idaho Attorney General            E-Mail: Christina.moylan@maine.gov
Consumer Protection Division
954 W. Jefferson St., 2nd Floor                 Counsel for Plaintiff State of Maine
P.O. Box 83720
Boise, ID 83720                                 ANTHONY G. BROWN
Telephone: (208) 332-3549                       Attorney General of Maryland
E-Mail: John.olson@ag.idaho.gov
   Case 1:20-cv-03010-APM           Document 1262   Filed 05/08/25     Page 12 of 14




Schonette J. Walker                             100 N. Carson Street
Gary Honick                                     Carson City, NV 89701
Office of the Attorney General of               Telephone: (775) 684-1164
Maryland                                        E-Mail: mbadorine@ag.nv.gov
200 St. Paul Place, 19th Floor                  ltucker@ag.nv.gov
Baltimore, MD 21202
Telephone: (410) 576-6480                       Counsel for Plaintiff State of Nevada
E-Mail: swalker@oag.state.md.us
ghonick@oag.state.md.us                         JOHN FORMELLA
                                                Attorney General of New Hampshire
Counsel for Plaintiff State of Maryland
                                                Brandon Garod
ANDREA CAMPBELL                                 Office of Attorney General of New
Attorney General of Massachusetts               Hampshire
                                                1 Granite Place South
Jennifer E. Greaney                             Concord, NH 03301
Office of the Attorney General of               Telephone: (603) 271-1217
Massachusetts                                   E-Mail: Brandon.h.garod@doj.nh.gov
One Ashburton Place, 18th Floor
Boston, MA 02108                                Counsel for Plaintiff State of New
Telephone: (617) 963-2981                       Hampshire
E-Mail: Jennifer, greaney@mass.gov
                                                MATTHEW PLATKIN
Counsel for Plaintiff Commonwealth of           Attorney General of New Jersey
Massachusetts
                                                Isabella R. Pitt
KEITH ELLISON                                   Deputy Attorney General
Attorney General of Minnesota                   New Jersey Attorney General’s Office
                                                124 Halsey Street, 5th Floor
Zach Biesanz                                    Newark, NJ 07102
Senior Enforcement Counsel                      Telephone: (973) 648-7819
Office of the Minnesota Attorney General        E-Mail: Isabella.Pitt@law.njoag.gov
Antitrust Division
445 Minnesota Street, Suite 600                 Counsel for Plaintiff State of New Jersey
St. Paul, MN 55101
Telephone: (651) 757-1257                       RAÚL TORREZ
E-Mail: Zach.biesanz@ag.state.mn.us             Attorney General of New Mexico

Counsel for Plaintiff State of Minnesota        Judith E. Paquin Cholla Khoury
                                                Assistant Attorney General
AARON D. FORD                                   New Mexico Office of the Attorney
Attorney General of Nevada                      General
                                                408 Galisteo St.
Michelle C. Badorine                            Santa Fe, NM 87504
Lucas J. Tucker                                 Telephone: (505) 490-4885
Nevada Office of the Attorney General           E-Mail: jpaquin@nmag.gov
   Case 1:20-cv-03010-APM              Document 1262   Filed 05/08/25     Page 13 of 14




ckhoury@nmag.gov                                   E-Mail: Robert.carlson@oag.ok.gov

Counsel for Plaintiff State of New Mexico          Counsel for Plaintiff State of Oklahoma

DREW WRIGLEY                                       DAN RAYFIELD
Attorney General of North Dakota                   Attorney General of Oregon

Elin S. Alm                                        Cheryl Hiemstra, Special Assistant
Assistant Attorney General                         Attorney General
Consumer Protection and Antitrust                  Gina Ko, Assistant Attorney General
Division                                           Oregon Department of Justice
Office of the Attorney General of North            1162 Court St. NE
Dakota                                             Salem, OR 97301
1720 Burlington Drive, Suite C                     Telephone: (503) 934-4400
Bismarck, ND 58504                                 E-Mail: Cheryl.Hiemstra@doj.oregon.gov
Telephone: (701) 328-5570                          Gina.Ko@doj.oregon.gov
E-Mail: ealm@nd.gov
                                                   Counsel for Plaintiff State of Oregon
Counsel for Plaintiff State of North
Dakota                                             DAVID W. SUNDAY, JR.
                                                   Attorney General of Pennsylvania
DAVID YOST
Attorney General of Ohio                           Tracy W. Wertz
                                                   Joseph S. Betsko
Jennifer Pratt                                     Pennsylvania Office of Attorney General
Beth Ann Finnerty                                  Strawberry Square
Mark Kittel                                        Harrisburg, PA 17120
Office of the Attorney General of Ohio             Telephone: (717) 787-4530
30 E Broad Street, 26 th Floor                     E-Mail: jbetsko@attorneygeneral.gov
Columbus, OH 43215                                 twertz@attorneygeneral.gov
Telephone: (614) 466-4328
E-Mail:                                            Counsel for Plaintiff Commonwealth of
Jennifer.pratt@ohioattorneygeneral.gov             Pennsylvania
Beth.finnerty@ohioattorneygeneral.gov
Mark.kittel@ohioattorneygeneral.gov                DOMINGO EMANUELLI
                                                   HERNANDEZ
Counsel for Plaintiff State of Ohio                Attorney General of Puerto Rico
                                                   Guarionex Diaz Martinez
GENTNER DRUMMOND                                   Assistant Attorney General Antitrust
Attorney General of Oklahoma                       Division
                                                   Puerto Rico Department of Justice
Robert J. Carlson                                  P.O. Box 9020192
Office of the Oklahoma Attorney General            San Juan, Puerto Rico 00902
313 NE 21st Street                                 Telephone: (787) 721-2900, Ext. 1201
Oklahoma City, OK 73105                            E-Mail: gdiaz@justicia.pr.gov
Telephone: (405) 522-1014
   Case 1:20-cv-03010-APM              Document 1262   Filed 05/08/25      Page 14 of 14




Counsel for Plaintiff Territory Puerto             Richmond, VA 23219
Rico                                               Telephone: (804) 692-0485
                                                   E-Mail: thenry@oag.state.va.us
PETER NERONHA
Attorney General of Rhode Island                   Counsel for Plaintiff State of Virginia
Stephen Provazza                                   NICK BROWN
Rhode Island Office of the Attorney                Attorney General of Washington
General
150 South Main Street                              Amy Hanson
Providence, RI 02903                               Senior Assistant Attorney General
Telephone: (401) 274-4400                          800 Fifth Avenue, Suite 2000
E-Mail: SProvazza@riag.ri.gov                      Seattle, WA 98104
Counsel for Plaintiff State of Rhode Island        Telephone: (206) 464-5419
                                                   E-Mail: Amy.hanson@atg.wa.gov
MARTIN J. JACKLEY
Attorney General of South Dakota                   Counsel for Plaintiff State of Washington

Yvette K. Lafrentz                                 JOHN B. McCUSKEY
Office of the Attorney General of South            Attorney General of West Virginia
Dakota
1302 E. Hwy 14, Suite 1                            Douglas Lee Davis
Pierre, SD 57501                                   Office of the Attorney General, State of
Telephone: (605) 773-3215                          West Virginia
E-Mail: Yvette.lafrentz@state.sd.us                1900 Kanawha Boulevard
                                                   East Building 6, Suite 401
Counsel for Plaintiff State of South               P.O. Box 1789
Dakota                                             Charleston, WV 25305
                                                   Telephone: (304) 558-8986
CHARITY R. CLARK                                   E-Mail: Douglas.l.davis@wvago.gov
Attorney General of Vermont
                                                   Counsel for Plaintiff State of West Virginia
Christopher J. Curtis, Assistant Attorney
General                                            BRIDGET HILL
Office of the Attorney General of Vermont          Attorney General of Wyoming
109 State St.
Montpelier, VT 05609                               William T. Young
Telephone: (802) 828-3170                          Wyoming Attorney General’s Office
E-Mail: christopher.curtis@vermont.gov             2320 Capitol Avenue
Counsel for Plaintiff State of Vermont             Kendrick Building
                                                   Cheyenne, WY 82002
JASON S. MIYARES                                   Telephone: (307) 777-7847
Attorney General of Virginia                       E-Mail: William.young@wyo.gov
Tyler T. Henry                                     Counsel for Plaintiff State of Wyoming
Office of the Attorney General of Virginia
202 N. 9th Street
